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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA
______________________________________

SHONA CHAVIS, HOLDEN SANDERS,
and EMANUEL CHAVIS,

               Plaintiff,

       v.                                                    No. 23-cv-1129-SDD-RLB

TROY LAWRENCE, JR., in his personal
capacity, MURPHY PAUL, in his official
capacity, BATON ROUGE POLICE
DEPARTMENT, CITY OF BATON
ROUGE, and PARISH OF EAST BATON
ROUGE.

            Defendants.
_____________________________________


                  PLAINTIFFS’ RESPONSE IN OPPOSITION TO
             DEFENDANT TROY LAWRENCE JR.’S MOTION TO DISMISS

       COME NOW, Plaintiffs, Shona Chavis, Holden Sanders, and Emanuel Chavis

(“Plaintiffs”), who respectfully submit their Response in Opposition to Defendant Troy Lawrence

Jr.’s Motion to Dismiss (Dkt. 34) as follows.

       This Response proceeds in two parts. First, although Plaintiffs maintain that the body-

worn camera footage in fact bolsters their claims on net, it explains why it would be improper to

consider such evidence at the motion to dismiss stage. As they did previously in opposing the City-

Parish’s motion to dismiss, Plaintiffs object to the consideration of this footage at the motion-to-

dismiss stage. Because it is unclear whether Defendant Troy Lawrence Jr. suggests he is entitled

to qualified immunity accepting as true the allegations made in Plaintiffs’ complaint, this may be

the quickest way to dispose of the pending motion. Second, it explains why Troy Lawrence Jr.’s

qualified immunity defense falls short, even if the footage is allowed to supplement the Complaint
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at this stage. In tackling the qualified immunity question, this Memorandum begins with probable

cause for arrest, then addresses excessive force, then moves to the First Amendment retaliation

and malicious prosecution claims—an order slightly different than the claims are listed in the

Complaint or addressed in Defendant’s motion to dismiss, for reasons that will become clear as

the argument proceeds. Finally, it addresses the state law claims and Defendant’s “discretionary

act immunity” claim.

       To summarize, there was never probable cause to arrest either Emanuel or Holden; they

had the right to resist (though it is not clear that either did so under Louisiana law); even if Ofc.

Lawrence was effecting a lawful arrest, his force against all three Plaintiffs was excessive and

unreasonable; and the Defendant’s actions were improperly motivated by verbal criticism and

conduct (filming) protected by the First Amendment. Finally, police officers violate the Fourth

Amendment when they fabricate evidence and bring bogus charges against individuals like

Plaintiffs; this legal right was “clearly established” at the time the misconduct in this case

transpired. And Plaintiffs have validly stated each of their state law claims, to which no

“discretionary act immunity” applies.

       I.      The Motion to Dismiss Should Be Evaluated Based Solely on the Allegations
               Contained in the Complaint

       In recent years, police brutality defendants within the Fifth Circuit have attempted to

supplement their motions to dismiss with video footage that they consider to be favorable. See,

e.g., Ramos v. Taylor, 646 F.Supp.3d 807 (W.D. Tex. 2022). Often, like Defendant Troy Lawrence,

Jr., they claim (without source or citation) that “[t]he body-worn camera footage is the best

evidence of those interactions.” Dkt. 34-1, *3. In fact, the opposite is usually true. See, e.g.,

Timothy Williams, et al., Body Cameras: What Do You See? N.Y. TIMES, Apr. 1, 2016, at

https://www.nytimes.com/interactive/2016/04/01/us/police-bodycam-video.html                (offering

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interactive examples of misleading body-worn camera footage and discussing scholarly research

demonstrating that body-worn cameras often reflect “deceptive intensity” and otherwise fail to

show what bystander video more accurately reflects). And accordingly, as already discussed in

Plaintiffs’ opposition to the City-Parish’s motion to dismiss, courts generally reject the

admissibility of such footage at the motion-to-dismiss stage. See Dkt. 24, *8 (highlighting City-

Parish’s “serious lack of candor with the court” in representing the facts and holding of Ramos v.

Taylor, 646 F.Supp.3d 807 (W.D. Tex. 2022) and other relevant case law).

        Generally speaking, “[a] district court is limited to considering the contents of the

pleadings and the attachments thereto when deciding a motion to dismiss,” and not documents

attached to a motion to dismiss. Villarreal v. Wells Fargo Bank, N.A., 814 F.3d 763, 766 (5th

Cir. 2016) (citing Fed. R. Civ. P. 12(b)(6) and Collins v. Morgan Stanley Dean Witter, 224 F.3d

496, 498 (5th Cir. 2000)); see also Collins, 224 F.3d at 498-99. But the Fifth Circuit has

recognized a narrow exception to this rule. When a document is “central” to a plaintiff’s case and

is expressly referenced in the complaint (e.g., a notice of foreclosure, contract, or other financial

document), the document itself may be considered insofar as it directly contradicts the

allegations. See, e.g., Villareal, 814 F.3d at 766. If a Plaintiff’s complaint contains factual

allegations that are “qualified” by reference to an exhibit, but the exhibit unambiguously shows

the opposite, it is “the exhibit and not the allegation [that] controls.” U.S. ex rel. Riley v. St.

Luke's Episcopal Hosp., 355 F.3d 370, 377 (5th Cir. 2004). But “simply because a video that

captured the events complained of in the complaint exists does not transform that video into a

‘document’ upon which the complaint is based.” Ambler v. Williamson Cnty., Texas, No. 1-20-

CV-1068-LY, 2021 WL 769667, at *3 (W.D. Tex. Feb. 25, 2021); see also id. at *4 (“[T]he

Video captures only part of the underlying incident and merely ‘provides one (1) officer's



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perspective of the incident at issue.’ While the Video may be central to Defendant's defense in

this case, Defendant has failed to demonstrate that the Video is central to Plaintiffs' claims.”)

(cleaned up).1

       Dicta in the Fifth Circuit’s recent decision in Sligh (which is not a case involving a

challenge to considering such evidence) recites this uncontroversial and long-standing features of

Fifth Circuit law; the Fifth Circuit did not cite any previous cases apart from the cases above

(Villarreal, Collins, and Riley) and did not suggest it was altering or expanding these basic rules.

See Sligh v. City of Monroe, Texas, 87 F.4th 290 (5th Cir. 2023). There, the Plaintiff’s complaint

“repeatedly reference[d] Sutton’s bodycam footage,” and apparently without objection from the

plaintiff, the district court considered the footage in weighing Defendants’ motion to dismiss. Id.

at 296. The plaintiff argued to the district court and the Fifth Circuit that the courts should

interpret the video footage differently, but apparently never argued that the footage was barred

by Rule 12(b)(6) or Fifth Circuit precedent altogether. See Br. for Plaintiff-Appellant, Sligh v.

City of Conroe, Texas, Case No. 22-40518 (5th Cir. 11/10/22), 2022 WL 17064424; Reply Br.

for Plaintiff-Appellant, Sligh v. City of Conroe, Texas, Case No. 22-40518 (5th Cir. 2/1/23),

2023 WL 1868240. The Sligh court did not hold—as Defendant Troy Lawrence, Jr. now




   1    Even at the summary judgment stage, when the district court can and should consider
video evidence that Defendants seek to introduce to rebut the factual allegations of a complaint,
it would be highly improper to reject a factual allegation based on video footage alone. “[T]he
standard imposed by the Supreme Court is a demanding one: a court should not discount the
nonmoving party's story unless the video evidence provides so much clarity that a reasonable
jury could not believe his account.” Darden v. City of Ft. Worth, Texas, 880 F.3d 722, 730 (5th
Cir. 2018). The video must “blatantly contradict” the Plaintiff’s factual allegations to be credited,
even at the summary judgment stage. Craig v. Martin, 49 F.4th 404, 409 (5th Cir. 2022).
Defendant’s position that the video controls all else at this stage is at war with the longstanding
and basic rule that “[a]ll questions of fact and any ambiguities in the controlling substantive law
must be resolved in the plaintiff's favor” when weighing a Rule 12(b)(6) motion to dismiss.
Lewis v. Fresne, 252 F.3d 352, 357 (5th Cir. 2001).
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suggests—that a district court may or must consider body-worn camera footage when assessing a

Rule 12(b)(6) motion to dismiss whenever a defendant believes such footage may help them in a

police brutality case, or when the Complaint contains screenshots from the footage.

       The foregoing helps explain some misleading representations in Defendant’s motion to

dismiss. For instance, Defendant claims that “Plaintiffs purport to describe in their Complaint the

audio and video that is depicted on Officer Lawernce’s [sic] body-worn camera,” citing forty-one

different paragraphs of the Complaint, and Defendant claims that “Plaintiffs have embedded 14

screenshots from Office Lawrence’s body-worn camera into their Complaint.” See Dkt 34-1, *3.

But the Complaint does not purport to describe the contents of the footage (with one small

exception).2 There is a critical (and, in this case, dispositive) difference between making a factual

allegation as to the contents of body-worn camera footage and making a factual allegation as to

what happened. Plaintiffs’ Complaint makes factual allegations as to what actually happened; if

the Complaint were making factual allegations as to the contents of body-worn camera footage,

the footage would be admissible and would “control” on that point. Riley, 355 F.3d at 377.3



   2    Plaintiff concedes that ¶ 11 of the Complaint (alleging: “Within twelve (12) seconds of
turning on his body-worn camera, Ofc. Lawrence can be heard cursing”) (emphasis added)
constitutes a factual allegation as to the contents of an audio-recording. It is a true allegation and
Defendant does not dispute its veracity. The other factual allegations contained in the complaint
are worded differently: they are allegations about what happened, not about what the body-worn
camera footage depicts.
    3   To illustrate this distinction, the Complaint also makes a series of factual allegations
about the false police report that Ofc. Troy Lawrence, Jr. authored in this case. See, e.g., Compl.,
¶ 70 (alleging police report ran 1,072 words long); Compl., ¶ 74 (alleging “The report omits Ofc.
Lawrence’s role in provoking violence and escalating the situation”); Compl., ¶ 75 (alleging
“The report falsely states that the non-BRPD officers who refused to assist Ofc. Lawrence
brutalizing Holden were ‘obliviously engaged in a verbal conversation nearby and unaware that
he needed assistance.’”). If, at the motion to dismiss stage, Ofc. Troy Lawrence Jr. wanted to
introduce a copy of the report to show that it was not 1,072 words long, that it in fact included an
account of Ofc. Lawrence’s role in provoking the violence, or that it did not contain the
statements about the other officers being “obliviously engaged in a verbal conversation nearby,”
Fifth Circuit precedent would permit him to do so. The foregoing are examples of factual
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Moreover, it is incorrect that the Complaint contains 14 stills from Officer Lawrence’s body-

worn camera footage. One of the stills that is contained in the complaint actually shows

Defendant’s violent attack on Plaintiff from a different camera and a different angle, precisely

because the Defendant’s body-worn camera footage fails to accurately depict the entire

encounter. Defendant’s misrepresentation is curious because (1) it is obvious from the still itself

that the image could not have been captured by Ofc. Lawrence’s body-worn camera, and (2)

Plaintiffs already emphasized this fact in responding to the City-Parish’s motion to dismiss. See

Dkt. 24, *8 n.2 (“[O]ther images [in the Complaint] are from other video angles because the

BWC does not depict the full incident (and, of course, it only shows the incident from Troy

Lawrence Jr.’s perspective). For example, the image on page 11 that shows Troy Lawrence Jr.

clawing his hand into the back of Holden’s neck is not visible from the BWC footage, but it is

clear from the alternate angles.”)). Plaintiffs’ illustrative use of footage from multiple cameras

and angles in the Complaint is intentional, because a single body-worn camera angle in no way,

shape, or form fairly illustrates/proves/disproves all that Plaintiffs allege to be true in their

complaint.

                                                 ***

        If the foregoing is incorrect, Plaintiffs pray for leave to file an amended complaint, which

will omit the screenshots and any reference to the body-worn camera. That way, the Court can

properly evaluate the sufficiency of Plaintiffs’ factual allegations based solely on the factual




allegations contained in a complaint that are qualified by reference to the extrinsic evidence
itself, and so if there were a contradiction between the complaint’s factual allegations and the
documents, the documents would control. Fifth Circuit precedent does not provide that, because
a Complaint references body-worn camera footage (which, like a report, may also offer a
depiction of the encounter from Ofc. Lawrence’s perspective), that referenced material is
necessarily admissible for all purposes when evaluating his motion to dismiss.
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allegations contained in the pleadings, as Rule 12(b)(6) contemplates. And the Court will have

access to all the video footage—not to mention sworn testimony from the other law enforcement

officers who witnessed Ofc. Lawrence’s rampage first-hand—before deciding if qualified

immunity is warranted at the summary judgment stage, as Rule 56 contemplates.

         Alternatively, if the court were to consider the video footage, such a decision would

implicitly convert Defendant’s motion to dismiss into a motion for summary judgment: Plaintiffs

“must have at least ten days’ notice before the court’s ruling” to submit declarations, records,

and other evidence in rebuttal. Hodge v. Engleman, slip op. at *5-*6, No. 22-11210 (5th Cir.

2024).

         II.    Even Considering the Video Footage, Troy Lawrence, Jr. Has Not Shown That
                He Is Entitled to Qualified Immunity

         All of the foregoing is a red herring, however, because Plaintiff does not identify a single

factual claim in Plaintiff’s complaint that the body-worn camera footage “utterly discredits” or

“blatantly contradicts.” Darden, 880 F.3d at 729; Craig, 49 F.4th at 409. And even accepting the

video as the exclusive and authoritative account of what transpired that day, Plaintiffs have still

stated valid claims and are entitled to move past the Rule 12(b)(6) stage.

                A. Emanuel Chavis and Holden Sanders Unlawful Seizure (Count II)

         Defendant argues that he is entitled to qualified immunity regarding Emanuel Chavis and

Holden Sanders’s Fourth Amendment unlawful seizure claim for two reasons: (1) “As indicated

above, Officer Lawrence clearly had probable cause to arrest Mr. Sanders and Mr. Chavis for

disturbing the peace . . . pursuant to La. R.S. La. R.S. [sic] 14:103(A)(2),” and (2) “In addition,

the video from the body-worn camera clearly and unequivocally shows that Mr. Sanders and Mr.

Chavis actively resisted Officer Lawrence when he attempted to arrest them,” thus providing




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probable cause to arrest under a different statute. Dkt. 34-1, at *10. These two arguments both

fail; they are addressed in turn.

                        1. There Was No Probable Cause to Arrest for a Violation of La.
                           R.S. 14:103(A)(2)

        Defendant argues that the factual allegations set forth in Paragraphs 6 and 10 of the

complaint establish probable cause to arrest Plaintiffs Emanuel Chavis and Holden Sanders. See

Dkt. 34-1, at *9. The allegations are that “On October 8, 2022, family members of Malik Chavis

rushed to Our Land of the Lake Hospital” and that “Ofc. Lawrence overheard a verbal argument

between brothers Holden Sanders and another family member” that took place approximately

“100 yards from the front entrance of the hospital.” See Compl. ¶¶ 6, 8. Neither the Complaint

nor the video identifies how far from the entrance of the hospital Ofc. Lawrence was when he

overheard the verbal argument, nor does it provide any information as to what was said, who said

what, how loud the argument was, how long it lasted, whether profanity was used, who was

involved in the argument (other than Holden Sanders), or whether other members of the public

were nearby.

        Nothing in the foregoing provides even the slightest basis for establishing probable cause

for the arrest of Emanuel Chavis. The complaint does not allege that he was a party to the verbal

argument. In fact, the verbal argument was between Holden Sanders and a different family

member, not Emanuel Chavis. Cf. Ybarra v. Illinois, 444 U.S. 85, 86 (1979) (“A person’s mere

propinquity to others independently suspected of criminal activity does not, without more, give

rise to probable cause to search that person.”).

        Nor does the foregoing establish probable cause for the arrest of Holden Sanders. True,

La. R.S. 14:103(A)(2), at first blush, appears to make it a criminal offense to “annoy” someone

in public; but as the U.S. Supreme Court and Louisiana courts have repeatedly ruled over the

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past half-century, the only way La. R.S. 14:103(A)(2) could be consistent with the First

Amendment is if it is narrowly construed. See Garner v. Louisiana, 368 U.S. 157 (1961)

(limiting scope of La. R.S. 14:103); Lewis v. City of New Orleans, 415 U.S. 130 (1974); City of

New Orleans v. Lyons, 342 So.2d 196 (La. 1977). The Louisiana courts’ longstanding

interpretation of La. R.S. 14:103 makes clear that “[o]nly fighting words—those which by their

very utterance inflict injury and tend to incite an immediate breach of the peace, are punishable”

under the statute. State v. Woolverton, 474 So. 2d 1003, 1005 (La. App. 5th Cir. 1985); see also

State v. Heck, 307 So.2d 332 (La. 1975) (explaining that the proviso “in such a manner as would

foreseeably disturb or alarm the public” serves as a “restrictive” clause that “limits” the reach of

La. R.S. 14:103(A)(1)). Thus, for example, a Louisiana police officer does not have probable

cause to arrest a citizen under La. R.S. 14:103(A)(2) for: angrily stating in public, “Get that God

damned [mother fucker] out of my eyes.” Norrell v. City of Monroe, 375 So. 2d 159, 160 (La.

App. 2d Cir. 1979); or for calling someone a “God Damned white Mother Fucker,” State in

Interest of W.B., 461 So. 2d 366, 368 (La. App. 2d Cir. 1984); or for using the phrase “mother

fucker” and directing the word “damn” at one’s wife, State v. McCoy, 546 So. 2d 240, 243 (La.

App. 2d Cir. 1989); or for approaching others in “a loud, excited and boisterous manner,” State

v. Chauvin, 945 So. 2d 752, 761 (La. App. 5th Cir. 2006) (rejecting probable cause where

evidence was “lacking in regards to the words used by defendant”). Neither the Complaint nor

the Defendant suggests that anyone involved in the “verbal argument” used “fighting words” or

otherwise engaged in conduct that would provide probable cause for arrest.

       Conspicuously, Defendant does not cite a single Louisiana case involving La. R.S.

14:103(A)(2). Doing so would require him to compare the facts of that case to the ones here, and

of course, no Louisiana court has ever suggested that it is a crime to engage in a “verbal



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argument” in public. To the extent there is some ambiguity in the record, it must be resolved in

Plaintiffs’ favor. Lewis v. Fresne, 252 F.3d 352, 357 (5th Cir. 2001).4

                         2. There Was No Probable Cause to Arrest for Resisting an Officer
                            Pursuant to La. R.S. 14:108(B)(2).

         Defendant’s discussion of La. R.S. 14:108(B)(2) misleadingly suggests that this statute

might provide some independent basis to defeat Plaintiff’s Fourth Amendment claims. It omits

an important feature of Louisiana law: Louisiana citizens enjoy a robust right to aggressively and

forcefully resist an arrest that is attempted without probable cause (and Louisiana’s courts have

taken pain to emphasize that La. R.S. 14:108(B)(2) must be interpreted accordingly). Adams v.

Thompson, 557 F. Supp. 405, 411 (M.D. La. 1983) (“[Plaintiff’s] resistance, even physical

resistance, to the trooper's unlawful arrest cannot provide probable cause for her arrest [under La.

R.S. § 14:103]”).

         Most of the landmark cases on this issue involve arrestees who fought back against

unjustified arrests purportedly justified by the arrestee’s “disorderly conduct” or “disturbing the

peace.” As the Louisiana Supreme Court explained in State v. Lindsay, 388 So.2d 781 (La.

1980):

         It is a long-established principle in Louisiana law that a citizen has the right to resist
         an unlawful arrest. White v. Morris, 345 So.2d 461 (La.1977); City of New Orleans
         v. Lyons, 342 So.2d 196 (La.1977); State v. Lopez, 235 So.2d 394 (La.1970); City



   4
        The argument contained in Defendant Troy Lawrence Jr.’s motion to dismiss is
particularly terrifying when taken together with the argument contained in the City-Parish’s
motion to dismiss recently filed in a related “BRAVE Cave” (which insists that the Fourth
Amendment allows BRPD officers generally, and Officer Lawrence Jr. in particular, to engage in
an invasive and sexually humiliating strip-search of a citizen any time there is reasonable
suspicion to believe that a non-arrestee has violated a criminal statute like La. R.S.
14:103(A)(2)). See Mot. to Dismiss, Dkt. 19-2, *10, Brown v. BRPD, No. 23-cv-1313-JWD-
EWD (defending lawfulness of Ofc. Troy Lawrence Jr.’s strip search). Baton Rouge is not yet a
police state: one can still argue in public (or, as in the case of Emanuel, observe two other people
who are arguing in public) without being subject to a forcible arrest and humiliating strip search.
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       of Monroe v. Ducas, 203 La. 974, 14 So.2d 781 (1943); La. R.S. 14:108; C.Cr.P.
       art. 220. As was stated in a 1943 opinion, Monroe v. Ducas . . . :
               The right of personal liberty is one of the fundamental rights
               guaranteed to every citizen, and any unlawful interference with it
               may be resisted. Every person has a right to resist an unlawful arrest;
               and, in preventing such illegal restraint of his liberty, he may use
               such force as may be necessary.” 14 So.2d at 784.
       In a more recent opinion, we reaffirmed the right to resist an unlawful arrest, and
       concluded its basis is found in statutory law (R.S. 14:108, resisting an officer, supra,
       speaks of a lawful arrest; C.Cr.P. art. 220 requires a “person . . . submit peacefully
       to a lawful arrest”), White v. Morris, supra, although there has been some
       suggestion that the right is constitutionally mandated as well. See Wainwright v.
       New Orleans, 392 U.S. 598 (1968) (Douglas, J., dissenting) (Writ of Certiorari
       dismissed as improvidently granted due to inadequacy of record); White v. Morris,
       supra; State v. Lopez, supra.
               The sole question presented in this case is whether lawful grounds existed
       to arrest defendant. If not, then his conviction of resisting an officer in violation of
       R.S. 14:108 must be reversed because defendant's resistance of his arrest would
       have been an exercise of his right to resist an unlawful arrest. . . .

State v. Lindsay, 388 So. 2d 781, 782–83 (La. 1980). There is no probable cause for arrest under

La. R.S. 14:108 if the officer is not “authorized by law to make a lawful arrest.” Adams v.

Thompson, 557 F. Supp. 405, 410 (M.D. La. 1983) (“Louisiana jurisprudence has restricted the

application of § 108 to its statutory language and, if the officer is not engaged in one of the three

stated activities, namely, attempting to seize property, serving process, or making a lawful arrest,

then a person who opposes him can not be guilty of a violation of § 108.”). Based on the

Complaint here—even when “supplemented” by the video—Ofc. Lawrence was not authorized

by statute to make a “lawful arrest” of either Emanuel or Holden.5


   5    Moreover, without citation to the Complaint or specific passages of the video—or
citations to Louisiana law—Defendant states that it is “clear” that both Mr. Sanders and Mr.
Chavis resisted. But it is not stated how Defendant reaches this conclusion (or what specific acts
Defendant believes the video “clear[ly]” shows that might constitute resistance under La. R.S. §
14:108(B)(2)). For example, the video depicts forms of verbal opposition to Office Lawrence.
But “Louisiana jurisprudence consistently holds that where § 108 is applicable, verbal opposition
to an officer, even abusive language and cursing, does not constitute the ‘opposition’ and
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               B. Emanuel Chavis and Holden Sanders Excessive Force (Count III)

       Defendant moves to dismiss Emanuel and Holden’s excessive force claims based on the

following:

       In the present case, the video evidence shows that Mr. Sanders and Mr. Chavis were
       actively resisting arrest. The amount of force used was no more than that needed to
       effectuate their arrest . . . Because Officer Lawrence used no more force than was
       necessary to overcome the resistance of Plaintiffs in effectuating a lawful arrest, his
       use of force was reasonable and does not rise to the level of a constitutional
       violation. Thus, Officer Lawrence is entitled to qualified immunity.

Dkt. 34-1, *12-*13. Two threshold points bear emphasis: (1) 100% of Defendant’s argument is

based on what “the video evidence shows” (as opposed to the factual allegations contained in the

Complaint); and (2) 100% of Defendant’s argument is based on the erroneous claim that he was

“effectuating a lawful arrest.” Thus, if this Court concludes that Plaintiffs are right with respect

to either the admissibility of the video at this stage or the foregoing argument that Officer

Lawrence lacked probable cause to “effectuate a lawful arrest” based on either La. R.S. 14:103

or La. R.S. 14:108, Defendant’s motion to dismiss the excessive force claims is dead on arrival.

       But even if this court agrees with Defendant on the previous two points—agreeing to

review the video, and accepting that it conclusively establishes probable cause to arrest both men

for disturbing the peace—Emanuel and Holden’s excessive force claims should survive.

Plaintiffs allege that Troy Lawrence Jr. used unreasonable force “when he grabbed, pushed,

punched, choked, excessively tightened handcuffs, and refused to loosen handcuffs.” Compl. ¶



‘obstruction’ proscribed by § 108. Adams v. Thompson, 557 F. Supp. 405, 410 (M.D. La. 1983)
(citing White v. Morris, 345 So.2d 461 (La. 1977); Norrell v. City of Monroe, 375 So.2d 159 (La.
Ct. App. 1979); Malone v. Fields, 335 So.2d 538 (La. Ct. App. 1976)). And Holden went out of
his way—even while being grabbed, pulled, choked, and having his hair yanked—to emphasize
that he was not going to strike or “put hands on” Defendant. Perhaps Defendant is suggesting
that Emanuel’s filming of his brutality was a form of illegal “resistance”? It is hard to see how
else Emanuel might have resisted. We must guess: the motion to dismiss and the supporting
memorandum are silent.
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193. Nowhere in Defendant’s lengthy filing does he deny that he did any of the foregoing, nor

does Defendant explain why such force was necessary. Defendant ignores the fact that Plaintiffs

allege it was not remotely necessarily, and in fact, both readily submitted to an oral request to

cooperate once such a request was issued clearly by a non-dangerously-enraged law enforcement

officer. Defendant also ignores that the violent interaction began not with an attempt to

effectuate an arrest, but when (according to the Defendant’s own self-serving account of the

incident):

        Ofc. Lawrence explained that he first used force against Holden to push him into
        the car because “they wanted to still mouth off . . . so at that point, I’m going to
        force y’all inside y’all’s car.

Compl. ¶ 61. Defendant offers no suggestion that anything in the Fourth Amendment authorizes

an officer “to force y’all inside y’all’s car” because they were talking “too much”; such force is

unreasonable.

        The arrest of both Holden and Emanuel was unnecessarily violent: as the Complaint

alleges, “As soon as Ofc. Lawrence moved back received assurances he would not be brutalized

further, Holden stepped out of the vehicle peacefully. Holden complied with the non-violent

sheriff’s deputy in a matter of seconds after the deputy successfully asked Ofc. Lawrence to step

back.” Compl. ¶¶ 46-47. The Complaint further alleges that Ofc. Lawrence never once

communicated that he was placing Plaintiffs under arrest. An appropriate amount of force would

have been to verbally ask them to step out of the car and submit to arrest. Instead, without stating

that Plaintiffs were under arrest, Ofc. Lawrence simply went on a violent rampage, first trying to

force one of them into a car, then seeking to drag one of them out. Defendant seems to suggest

that his own brutality is dispositive evidence of the necessity of his unreasonable force, but this

is not so.



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       One strong indicium of whether Defendant’s use of force was reasonable in the

moment—as properly alleged in the Complaint—was the reaction of other reasonable law

enforcement officials who watched his violent temper-tantrum from mere feet away and refused

to assist him (despite his profane calls for help), and then Defendant’s sworn false statements to

conceal this fact. See, e.g., Compl. ¶ 40-42 (“Approximately 30 seconds after first yelling ‘CAN

Y’ALL FUCKING HELP?!’, Ofc. Lawrence again addressed the other officers, this time stating:

‘WHAT THE FUCK ARE Y’ALL DOING?! YOU’RE NOT GOING TO HELP?!’ In a sworn

police report, Ofc. Lawrence wrote that the other officers had not come to his assistance initially

because they were ‘obliviously engaged in a verbal conversation nearby and unaware that I

needed assistance.’ This statement was false.”). A logical inference that can be drawn from this

factual allegation is that the other law enforcement officers witnessing the outburst—whose

perspective was at least as good as that of a body-worn camera—viewed Ofc. Lawrence to be

using unreasonable force.

       And Defendant simply ignores the centerpiece of Emanuel’s excessive force claim, which

focuses on Defendant’s cruel and sadistic use of handcuffs to intentionally inflict pain on

Emanuel. See Compl. ¶¶ 54-60, 85 (“Emanuel experienced acute pain from Ofc. Lawrence’s

decision to place the handcuffs on him tightly. When first placed in cuffs, he complained, ‘He

hurting me! He hurting my arm! . . . Man, call the Sergeant out here, man!’ Ten minutes later,

Emanuel again asked for his handcuffs to be loosened. Eight minutes after that, Emanuel again

explained, ‘I can’t feel my hands right now’ and explained that the handcuffs are ‘Cutting off my

circulation right now.’ Ofc. Lawrence was subjectively aware that Emanuel was complaining of

pain. Ofc. Lawrence heard all of Emanuel’s complaints and had the opportunity to loosen the

cuffs, but chose not to do so. When Emanuel complained about the handcuffs, he responded:



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‘Well, whenever you fight with me . . . that’s what happens.’ . . . Emanuel has continuing pain in

his wrists; he is unable to pick up his child with one hand as a result of injuries Ofc. Lawrence

inflicted.”). Defendant has not addressed these allegations, but if he did, he would not be entitled

to qualified immunity. See Heitschmidt v. City of Houston, 161 F.3d 834, 840 (5th Cir. 1998)

(rejecting qualified immunity for Fourth Amendment claim based on pain inflicted as a result of

overly tight handcuffs); Dormu v. District of Columbia, 795 F. Supp. 2d 7, 23 (D.D.C. 2011)

(rejecting qualified immunity, despite absence of on-point previous D.C. Circuit precedent,

citing an overwhelming consensus from courts of appeals like the Fifth Circuit that “an

individual had a clearly established right to be free from a police officer's injury-inducing

application of handcuffs after the individual complained that the cuffs were too tight”).

               C. Shona Chavis Excessive Force (Count III)

       The entirety of Defendant’s argument to dismiss Shona Chavis’s excessive force claim is

as follows: “With respect to Ms. Chavis, the video shows that she was actively interfering with

Officer Lawrence’s ability to effectuate the arrest and that all Officer Lawrence did was simply

use his arm to move her out of the way.” Dkt. 34-1, *12. Once again, Defendant’s motion to

dismiss Ms. Chavis’s claims are predicated on this Court accepting both antecedent arguments:

(1) that this Court should evaluate Ofc. Lawrence’s body-worn camera footage when assessing

the Defendant’s motion to dismiss, and (2) Ofc. Lawrence had lawful authority to use force and

violence against Ms. Chavis’s children. If the Court rejects either argument, it may dispense with

the argument there.

       But even if the Court agrees to review the video and accepts that there was probable

cause to arrest Emanuel and Holden, once again, it does not follow that he is entitled to qualified

immunity as to Ms. Chavis’s claims. Defendant ignores the actual allegations contained in the



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Complaint. Ms. Chavis alleges the following in support of her excessive force claim: “Scared

that she was about to watch the lynching of her son, Ms. Shona Chavis attempted to calm Ofc.

Lawrence down. Ofc. Lawrence struck Ms. Chavis multiple times with his hand.” Compl. ¶ 34-

35. “Months later, Shona Chavis continues to suffer from serious pain in her shoulder from

where Ofc. Lawrence struck her.” Compl. ¶ 84. Additional factual allegations in the complaint

provide more insight into Defendant’s state of mind and aggressive hostility toward Ms. Chavis.

For example, “[a]fter Shona Chavis explained that Ofc. Lawrence was still acting in an

‘unprofessional’ manner, he rolled up the window of his police car and stated, ‘Shit!’” Compl. ¶

63. See also Compl. 79 (“The report omits any mention of Ofc. Lawrence’s use of force against

Shona Chavis or the other citizen Ofc. Lawrence shoved.”).

       Importantly, Defendant does not argue that any of the foregoing is untrue or contradicted

by the video evidence. He just claims that the video doesn’t show it all. And in that regard,

Plaintiffs and the Defendant agree: the body-worn camera does not fully show everything that

did or did not transpire between Defendant and Ms. Chavis. That’s because Ofc. Lawrence’s

violent temper tantrum was chaotic, and accordingly, the body-worn camera affixed to his chest

during this incident does not clearly depict the entirety of his interaction with Ms. Chavis. It is

the perfect example of why this Court should not rely on Defendant’s exhibit to resolve at the

motion to dismiss stage such a fact-bound question, without seeing other video footage and

receiving sworn testimony from others (including other law enforcement eyewitnesses) who will

support Ms. Chavis’s version of events.

               D.      First Amendment Retaliation, All Three Plaintiffs (Count I)

       The entirety of Defendant’s motion to dismiss Shona Chavis’s First Amendment claim is

the following: “In the present case, there is no allegation that Ms. Chavis was arrested. Thus,



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there is no causation between any exercise of Ms. Chavis’ First Amendment rights and any

injury that she allegedly suffered.” Dkt. 34-1, *9. The fact that she was just struck, as opposed to

arrested, is not fatal to her First Amendment claim. To be clear, Ms. Chavis alleges Ofc.

Lawrence repeatedly struck her because she sought to calm him, Compl. ¶ 34-35, and just like

other women “who (correctly) told him he was acting impressionably,” Compl. ¶ 107, she paid a

physical price. See Compl. ¶ 84 (“Months later, Shona Chavis continues to suffer from serious

pain in her shoulder from where Ofc. Lawrence struck her.”).

       As to Holden and Emanuel, Defendant’s entire argument is (yet again) that “[b]ecause

both probable cause and arguable probable cause existed, Officer Lawrence should be

‘exonerated’ from liability with respect to Plaintiffs’ First Amendment retaliation claims.” Dkt.

34-1, *10. As explained earlier, there was no probable cause for anything Officer Lawrence did

that day.

       But once again, even this Court disagrees and holds that Ofc. Lawrence had probable

cause to arrest Emanuel and Holden for “disturbing the peace,” Plaintiffs have still stated valid

First Amendment claims. As the U.S. Supreme Court made clear in Nieves (and the Fifth Circuit

has subsequently recognized), the “no-probable-cause-requirement” does “not apply when a

plaintiff presents objective evidence that he was arrested when otherwise similarly situated

individuals not engaged in the same sort of protected speech had not been.” Nieves v. Bartlett,

139 S. Ct. 1715, 1727 (2019); Roy v. City of Monroe, 950 F.3d 245, 255 n.4 (5th Cir. 2020).

Plaintiffs have done just that here: ironically, Defendant’s misreading of the Complaint—the

erroneous assumption that Emanuel Chavis was the other family member involved in the “verbal

argument”—highlights the point. The Complaint alleges that there was an identically situated

family member who engaged in precisely the same conduct as Defendant, but this individual was



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not arrested. Additionally, the Complaint references another “striking[ly]” similar recent First

Amendment lawsuit brought against Ofc. Troy Lawrence Jr. where the City-Parish ended up

paying $55,000 to settle claims against Defendant: as in this case, Defendant argued that he had

probable cause to arrest one motorist for “disturbing the peace” after a verbal argument, but

conspicuously chose not to arrest the other motorists involved in the verbal argument who did

not criticize him. Compl. ¶¶ 107-127; see also Compl., Reed v. Lawrence, No. 21-CV-624-JWD-

RLB.

       Why did this other family member not end up arrested and brutalized like Holden and

Emanuel? Officer Lawrence’s own words (which Defendant does not dispute the body-worn

camera accurately captures) provide the answer: he didn’t like the protected speech Plaintiffs

directed at him. See Compl. ¶¶ 13-18 (“While dispersing, Emanuel criticized Ofc. Lawrence’s

professional and attitude, stating that Ofc. Lawrence was “doing too much.” Rather than ignore

the criticism, Ofc. Lawrence again used profanity: ‘I’m doing too much? Okay. Get the fuck [out

of here].’ Holden, still moving to get into his car, asked Ofc. Lawrence to ‘stop talking to us like

that.’ Within eight seconds of Holden’s request that Ofc. Lawrence ‘stop talking to us like that,’

Ofc. Lawrence rapidly approached Holden stating, ‘Whatcha going to do?! Whatcha going to

do?!’ and began grabbing him by the wrist.”) If that weren’t enough, Defendant later admitted to

Ms. Chavis that it was Plaintiffs’ speech that prompted him to arrest, rather than disperse, them.

Compl. ¶¶ 61-62 (“Ofc. Lawrence explained that he first used force against Holden to push him

into the car because “they wanted to still mouth off . . . so at that point, I’m going to force y’all

inside y’all’s car. Ofc. Lawrence explained that his decision to arrest Holden and Emanuel was

motivated in part because they were ‘saying extra stuff that didn’t need to be said.’”).




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       Defendant also ignores that the Complaint alleges Emanuel was arrested, in part, because

he filmed Ofc. Lawrence engaged in police brutality. The Complaint alleges (and the body-worn

camera confirms) that other people were present in addition to Emanuel, but what set Emanuel

apart was that he was filming Defendant’s misconduct. Compl. ¶¶ 48-60, 186. Defendant does

not deny this.

       Defendant also inappropriately conflates cases that come before courts at the summary

judgment stage (like Nieves and Roy) and the motion to dismiss stage (like this one). If

Defendant wants to contend that he arrests everyone he encounters where there is probable cause

to believe they have engaged in a minor offense like “disturbing the peace” (regardless of

whether they engage in protected First Amendment activity) he is entitled to do so. But such a

claim strains credulity, and Plaintiffs should have the opportunity in discovery to inquire into

whether such an improbable claim is true. On information and belief, there are many other

“similarly situated” individuals (beyond the several ones identified in the Complaint) who

Defendant has not arrested except for the fact that they (accurately) criticized him. And the

complaint alleges that the Defendant himself has engaged in a manner that would plainly violate

La. R.S. 14:103 himself, but presumably, he has never arrested himself. See Compl. ¶¶ 128-139

(discussing disciplinary action, but not arrest, for Defendant’s verbal arguments in public with

colleagues). Plaintiffs’ pleading properly alleges more than enough.

                 E.    Emanuel Chavis and Holden Sanders Malicious Prosecution
                       (Count IV)

       Defendant’s motion to dismiss the Plaintiffs’ malicious prosecution claim largely

reiterates the previous probable cause argument. It fails for reasons previously articulated.

       It also fails for many other reasons. Contrary to Defendant’s suggestion, it was “clearly

established” within the Fifth Circuit that a police officer could engage in “malicious prosecution”

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in violation of the U.S. Constitution long before Thompson v. Clark, 142 S.Ct. 1332 (2022).

“Freestanding” malicious prosecution claims were a different matter, but malicious prosecution

claims attached to a claim of false arrest were always cognizable. For example, in Winfrey v.

Rogers, 901 F.3d 483, 493 (5th Cir. 2018), the Fifth Circuit recognized the existence of a

malicious prosecution claim under the Fourth Amendment. See also Payton v. Town of

Maringouin, No. 21-30440, 2022 WL 3097846, at *3 (5th Cir. Aug. 3, 2022) (explaining that,

although Castellano v. Fragozo rejected a “freestanding” constitutional malicious prosecution

claim, such claims could still be brought between 2003-2021 where the Plaintiff had been seized

and arrested).

       In any event, freestanding or otherwise, the U.S. Supreme Court clearly established the

relevant right at least by April 4, 2022, well before Ofc. Lawrence initiated baseless criminal

proceedings against Plaintiffs here on October 8, 2022. Without any further explanation,

Defendant suggests that Armstrong v. Ashley (decided February 15, 2023) somehow muddied the

water, or left the matter “unclear” in the Fifth Circuit. But this is nonsense. Indeed, the

Armstrong court itself referred to “Thompson’s clear recognition of the constitutional tort of

malicious prosecution,” 60 F.4th at 279, and recognized that the relevant question was whether

such a constitutional claim was “cognizable in the Fifth Circuit” at “the time suit was filed,” id.

at 267. It was here. Neither the Fifth Circuit nor any district court within the Fifth Circuit (as far

as Plaintiffs are aware) have continued to shield police officers like Officer Lawrence with

qualified immunity for malicious prosecutions instituted post-April 4, 2022. Indeed, Defendant

claims that “the contours of such a [malicious prosecution] claim are [still] currently unclear in

the Fifth Circuit,” so a BRPD officer who engaged in precisely the same unconstitutional

conduct tomorrow would still dodge liability. Dkt. 34-1, *14. This Court should forcefully reject



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that argument. After the U.S. Supreme Court’s decision in Thompson v. Clark—“a case where an

officer acting under similar circumstances . . . was held to have violated the Fourth

Amendment,” District of Columbia v. Wesby, 583 U.S. 48, 64 (2018)—Officer Lawrence could

not have thought that he was acting consistent with the U.S. Constitution when he caused a

criminal case to be brought against Holden and Emanuel, without probable cause, maliciously,

where such case terminated in defendants’ favor and caused damages. See Gordy v. Burns, 294

F.3d 722, 725 (5th Cir. 2002).

               F.      All Plaintiffs’ State Law Claims (Counts VI-X)

       After acknowledging that it is the factual allegations that control—not “labels” or

“conclusions”—Defendant makes the remarkable claim that none of the factual allegations

contained anywhere in the complaint establish any “assaults,” “batteries,” “false imprisonments,”

“malicious prosecutions,” or “negligence” under state law. Dkt. 34-1, *14-*15. This argument is

frivolous.

       All three plaintiffs allege that Ofc. Lawrence committed a battery against them. Under

Louisiana law, a battery “is a harmful or offensive contact with a person resulting from an act

intended to cause the plaintiff to suffer the contact.” § 12:6. Battery, 12 LA. CIV. L. TREATISE,

TORT LAW § 12:6 (2d ed. 2023). The Complaint alleges Defendant “grabbed” Holden’s wrist,

Compl. ¶ 19, “shove[d] Emanuel,” Compl. ¶ 22, “shoved Holden into the car,” Compl. ¶ 25,

“struck Ms. Chavis multiple times with his hand,” Compl. ¶ 34, “choke[d] him [Holden] by the

neck and grab him by his hair,” Compl. ¶ 35, and tightly affixed handcuffs to Emanuel’s wrists,

causing acute pain, Compl. ¶¶ 54-57. It alleges much more. What more does Defendant want?

       All three plaintiffs allege that Ofc. Lawrence committed assault against them. Under

Louisiana law, assault “is an intentional act that creates an apprehension in the plaintiff of a



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harmful or offensive contact.” § 12:7. Assault, 12 La. Civ. L. Treatise, Tort Law § 12:7 (2d ed.).

Again, the Complaint is replete with allegations that Defendant both threatened unlawful and

used unlawful force against Plaintiffs. See, e.g., Compl. ¶ 13-29 (discussing numerous profane

threats issued by Officer Lawrence). It expressly states that Holden feared Defendant “would . . .

brutalize him further,” Compl. ¶ 46, and that Emanuel begged Defendant to stop hurting him

further, Compl. ¶¶ 54-60. It is a fair inference that if a woman is struck repeatedly by a police

officer while thinking that she was “about to watch the lynching of her son,” Compl. ¶ 33, that

she too is momentarily in fear of receiving another battery. Further, the assault allegations are

supported by the allegations that Defendant did, in fact, “grabbed” Holden’s wrist, Compl. ¶ 19,

“shove[d] Emanuel,” Compl. ¶ 22, “shoved Holden into the car,” Compl. ¶ 25, “struck Ms.

Chavis multiple times with his hand,” Compl. ¶ 34, “choke[d] him [Holden] by the neck and

grab him by his hair,” Compl. ¶ 35, and tightly affixed handcuffs to Emanuel’s wrists, causing

acute pain, Compl. ¶¶ 54-57. Ofc. Lawrence’s violence made Plaintiffs fear for their lives and

the lives of their loved ones. Each plaintiff has adequately stated a state tort law claim for

“assault.”

       Under Louisiana law, a false imprisonment requires:

       a defendant's restriction of the victim's freedom of movement and that the plaintiff
       was aware that his freedom of movement was in fact restricted. The restriction must
       be a physical confinement. The restriction may result from the assertion of legal
       authority over the plaintiff by another who takes plaintiff into custody. The act of
       restraint need not be accompanied by malice. False arrest may result in false
       imprisonment if the arrest is made without proper authority.

§ 12:9. False imprisonment, 12 La. Civ. L. Treatise, Tort Law § 12:9 (2d ed.). Ms. Chavis

obviously does not allege that she was falsely imprisoned; the other two Plaintiffs do.

Defendants’ suggestion that none of the plaintiffs have stated a valid claim of false imprisonment

is frivolous. The same is true for malicious prosecution: obviously the complaint does not allege

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that Shona Chavis was maliciously prosecuted, but it certainly alleges facts that meet the

elements of malicious prosecution under state law. Id. at § 12:17. Malicious prosecution and

abuse of process. (“A claim for malicious prosecution requires the commencement of a criminal

or civil proceeding, the causation of that proceeding by the present defendant, the termination of

that proceeding in favor of the present plaintiff, absence of probable cause, the presence of

malice, and damage.”); Armstrong v. Ashley, 60 F.4th 262, 279 (5th Cir. 2023) (“the elements of

the state-law tort of malicious prosecution and the elements of the constitutional tort of ‘Fourth

Amendment malicious prosecution’ are coextensive.”).

       Under Louisiana law, liability attaches for negligence where (1) the defendant has a duty

to conform his or her conduct to a specific standard of care (the duty element); (2) the defendant

fails to conform his or her conduct to the appropriate standard (the breach of duty element); (3)

the defendant's substandard conduct was a cause-in-fact of the plaintiff's injuries (the cause-in-

fact element); (4) the defendant's substandard conduct was a legal cause of the plaintiff's injuries

(the scope of liability or scope of protection element); and, (5) actual damages (the damages

element). Rando v. Anco Insulations Inc., 16 So. 3d 1065, 1086 (La. 2009). Once more, it is

difficult to respond to Defendant’s motion because he does not identify any way in which the

facts alleged in the complaint fall short. Defendant owed a duty to each of the three Plaintiffs to

conform his conduct to a specific standard of care; he breached that duty when he illegally

punched, grabbed, pulled, cursed, tightened, and shoved them; each of the plaintiffs allege that

this conduct injured them and was the legal cause of their injuries; and they have suffered actual

damages.

       Finally, Defendant’s efforts to shield himself in “discretionary act immunity” pursuant to

La. R.S. 9:2798.1 fall short, for two independent reasons: (1) Defendant was not engaged in



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“policymaking or discretionary acts” within the meaning of La. R.S. 9:2798.1(B) when he

physically attacked, falsely arrested, and maliciously prosecuted Plaintiffs, but was instead

involved in misconduct at the operational level, and (2) the alleged misconduct consists of “acts

or omissions which constitute criminal, fraudulent, malicious, intentional, willful, outrageous,

reckless, or flagrant misconduct,” La. R.S. 9.2798.1(C). On the first point, the discretionary

function immunity conferred by § 2798.1 only applies to policymaking or discretionary acts. See

Cloud v. Stone, No. 18-1070, 2019 WL 238066, at *2 (W.D. La. Jan. 16, 2019) (citing Poche v.

Gautreaux, 973 F. Supp. 2d 658, 674 (M.D. La. 2013). It does not protect against legal fault or

negligent conduct at the operational level, only for policy decisions (i.e., decisions based on

social, economic, or political concerns) at the policy-making or ministerial level. Lockett v. City

of New Orleans, 639 F. Supp. 2d 710, 745 (E.D. La. 2009) (quoting Saine v. City of Scott, 2002-

265 (La. App. 3 Cir. 6/12/02); 819 So. 2d 496), aff'd, 607 F.3d 992, (5th Cir. 2010); see also

Randle v. Tregre, 147 F. Supp. 3d 581, 593 (E.D. La. 2015), aff'd, 670 F. App'x 285 (5th Cir.

2016). Thus, a “Defendants’ reliance on La. R.S. § 9:2798.1 to support their argument that an

officer’s actions in handcuffing his or her suspect [too tightly] is protected [by discretionary act

immunity] is misplaced.” Saine v. City of Scott, 819 So. 2d 496, 500 (La. App. 3d Cir. 2002).

The same is true when a plaintiff alleges that a police officer acted negligently in securing an

accident scene, Misuraca v. City of Kenner, 802 So. 2d 784, 789 (La. App. 5th Cir. 2001)

(“Kenner has not articulated any social, economic or political considerations surrounding the

police officer's actions in handling the immediate investigation or securing the accident scene.

Thus, Kenner is not immune from liability under La. R.S. 9:2798.1”); or alleges the officer

mishandled a complaint regarding a stolen car, Ducote v. City of Alexandria, 677 So. 2d 1118,

1122 (La. App. 3d Cir. 1996) (“[T]he officer clearly was acting at the operational level. His



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decision . . . was not based on any balancing of social policy . . .”); or alleges the officer made an

improper investigatory stop in violation of the Fourth Amendment, Parker v. Town of

Woodworth, 160 So. 3d 1113, 1132 (La. App. 3d Cir. 2015), writ denied, 171 So. 3d 254 (La.

2015). The same is true here.

       Independently, Defendant is not entitled to “discretionary act immunity” because the

wrongdoing alleged in this complaint is conduct that is “criminal, fraudulent, malicious,

intentional, willful, outrageous, reckless, or flagrant misconduct.” The closest analogy is Miller

v. Village of Hornbeck, 65 So. 3d 784, 788 (La. App. 3d Cir. 2011). There, Plaintiff alleged that

he was improperly subject to a traffic stop, arrested without probable cause for “resisting arrest,”

had handcuffs tightly applied, and suffered other physical injuries. Id. at 786. He brought an

excessive force claim and prevailed at trial. The appellate court affirmed and explained that the

record contained sufficient evidence to support the finding that La. R.S. 9:2798.1(C)(2) stripped

the officers of immunity for the alleged wrongdoing. Id. at 788.

       Defendants identifies no law to the contrary on either issue.

       WHEREFORE, premises considered, Plaintiffs respectfully request that the Court deny

Defendant Troy Lawrence Jr.’s Motion to Dismiss.

                                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of January, I electronically transmitted the foregoing
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to all ECF registrants who have appeared in this case.

                                             /s/Thomas Frampton




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